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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER STRIANESE,                       )
individually and on behalf of all others     )       Case No.:
similarly situated,                          )
                                             )       CLASS ACTION
               Plaintiff,                    )
                                             )       JURY TRIAL DEMANDED
       v.                                    )
                                             )
GOHEALTH, INC., CLINTON P. JONES,            )
BRANDON M. CRUZ, TRAVIS J.                   )
MATTHIESEN, NVX HOLDINGS, INC.,              )
CENTERBRIDGE PARTNERS, L.P.,                 )
CCP III AIV VII HOLDINGS, L.P.,              )
CB BLIZZARD CO-INVEST HOLDINGS,              )
L.P., BLIZZARD AGGREGATOR, LLC,              )
CENTERBRIDGE ASSOCIATES III, L.P.,           )
CCP III CAYMAN GP LTD.,                      )
GOLDMAN SACHS & CO. LLC,                     )
BOFA SECURITIES, INC. and                    )
MORGAN STANLEY & CO. LLC,                    )
                                             )
       Defendants.                           )

                                CLASS ACTION COMPLAINT

       Plaintiff Christopher Strianese (herein, “Plaintiff”), individually and on behalf of all

others similarly situated, brings this Class Action Complaint for violations of the Securities Act

of 1933 (“1933 Act”), against GoHealth, Inc. (“GoHealth” or the “Company”) and the other

defendants listed herein. Plaintiff makes the following allegations pursuant to the investigation

of their counsel, which included among other things, a review of public filings submitted to the

Securities and Exchange Commission (“SEC”), conference call transcripts, earnings reports,

investor presentations, analyst and media reports, as well as other public information regarding

the Company and its initial public offering, except as to allegations specifically pertaining to

Plaintiff and Plaintiff’s counsel, which are based on personal knowledge.
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                                    NATURE OF ACTION

       1.      This is a securities class action on behalf of all purchasers of GoHealth Class A

common stock pursuant and/or traceable to the registration statement issued in connection with

GoHealth’s July 2020 initial public offering (the “IPO”), seeking to pursue remedies under the

1933 Act against GoHealth, certain of GoHealth’s officers and directors, the private equity

sponsor of the IPO and its affiliates, and the IPO’s underwriters.

       2.      GoHealth provides an end-to-end health insurance marketplace that purportedly

specializes in matching consumers with Medicare Advantage plans. Based in Chicago, Illinois,

GoHealth is organized as a holding company, with GoHealth Holdings, LLC (“GHH”) as the

Company’s principal asset, which houses Company operations. GHH was formerly known as

Blizzard Parent, LLC (“Blizzard”), until it was acquired by the private equity firm Centerbridge

(defined below) in September 2019 for $1.1 billion in equity and cash (the “Acquisition”). In

connection with the Acquisition, Centerbridge also agreed to pay the Company’s selling

shareholders up to $275 million worth of additional contingent consideration, to be paid in the

form of common and senior preferred earnout units, if the Company achieved certain earnings

targets in late 2019 and 2020.

       3.      Immediately following the Acquisition, GoHealth reported tremendous growth.

From September 13, 2019 through December 31, 2019, GoHealth purportedly generated $308

million in net revenues, compared to just $231 million during the period from January 1, 2019

through September 12, 2019. Thus, GoHealth stated that it had generated substantially more

revenues in the three-and-a-half months following the Acquisition than in the eight-and-a-half

months preceding the Acquisition. Indeed, GoHealth claimed to have generated more revenues in




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the three-and-a-half months following the Acquisition than it did during the Company’s entire

2018 fiscal year.

       4.      GoHealth also represented that its business model was highly profitable, offering

the best life time value of commissions (“LTV”) per consumer acquisition cost (“CAC”) of any

of its peers. LTV refers to the commission revenues that GoHealth expected to receive from

insurance carriers in connection with an approved submission for an insurance policy by a new

consumer over time, factoring in variables such as contracted commission rates, carrier mix,

policy persistency, and the number of expected submissions. CAC refers to the cost to GoHealth

of acquiring its consumers. Thus, LTV/CAC is a type of profitability metric that generally refers

to how much of a return GoHealth expects on its consumer acquisition investments. GoHealth

represented that its LTV/CAC ratio for its Medicare Internal segment (the Company’s largest

and most profitable segment) was 3.9x and 2.7x for 2019 and its first quarter 2020, respectively,

significantly higher than the 1.7x LTV/CAC ratio the Company stated it had achieved during the

first quarter of 2019 and, by some estimates, roughly double GoHealth’s peers.

       5.      Although GoHealth generated net losses in 2019, the Company claimed that this

was because it was in growth mode and seeking to expand its presence as a dominant force in the

Medicare insurance marketplace. The Company’s adjusted earnings before interest, taxes,

depreciation and amortization (“EBITDA”) – a metric tailored by management ostensibly to

show the Company’s core profitability by excluding certain costs – increased considerably in the

lead-up to the IPO. GoHealth claimed that its adjusted EBITDA had grown by 388% year over

year to $170 million during its pro forma 2019 and by 394% year over year to $35 million during

the first quarter of 2020. As a result of its apparently exceptional earnings growth, GoHealth




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incurred $75 million in contingent consideration liability from the close of the Acquisition

through the end of the first quarter of 2020 to be paid out to the Company’s prior owners.

       6.      Unlike many competitors, the Company focused its business on just two insurance

carriers, Humana and Anthem. In the first quarter of 2020, 74% of GoHealth’s entire net

revenues were derived from just these two carriers. This carrier concentration was even higher

for GoHealth’s all-important Medicare segments at roughly 85% of all segment revenues –

despite the fact that Humana and Anthem were estimated to account for just 23% of total

Medicare Advantage market-wide enrollment.

       7.      GoHealth considers insurance carriers to be its primary customers, rather than

consumers, because the carriers are responsible for paying commissions to GoHealth in

exchange for GoHealth reliably placing policies in compliance with applicable regulations and

carrier-specific requirements. The Company does not receive any revenues directly from

consumers. The carriers utilize GoHealth as a scalable means of acquiring customers that can be

more cost effective than developing internal acquisition capabilities. According to GoHealth, the

Company’s high LTV/CAC ratio was primarily the result of the Company’s unique competitive

advantages in the services it provides to its insurance carrier partners. As described by the

Company, GoHealth’s “Best-in-Class Medicare LTV/CAC Ratio” is “Driven by Proprietary

Technology, Business Processes, Data and Highly Skilled Agents.”

       8.      On June 19, 2020 – just nine months after the Acquisition – GoHealth filed with

the SEC a registration statement for the IPO on Form S-1, which, after two amendments, was

declared effective on July 14, 2020 (the “Registration Statement”). On July 16, 2020, GoHealth

filed with the SEC a prospectus for the IPO on Form 424B4, which incorporated and formed part

of the Registration Statement. The Registration Statement was used to sell to the investing public




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43.5 million shares of GoHealth Class A common stock at $21 per share, for total gross proceeds

of $913.5 million. Proceeds from the IPO were used primarily for the purpose of paying

Company insiders and Centerbridge and consummating financial obligations which had arisen

from the Acquisition.

       9.      The Registration Statement for the IPO was negligently prepared and, as a result,

contained untrue statements of material fact, omitted material facts necessary to make the

statements contained therein not misleading, and failed to make necessary disclosures required

under the rules and regulations governing its preparation. Specifically, the Registration

Statement failed to disclose that at the time of the IPO: (i) the Medicare insurance industry was

undergoing a period of elevated churn, which had begun in the first half of 2020; (ii) GoHealth

suffered from a higher risk of customer churn as a result of its unique business model and limited

carrier base; (iii) GoHealth suffered from degradations in customer persistency and retention as a

result of elevated industry churn, vulnerabilities that arose from the Company’s concentrated

carrier business model, and GoHealth’s efforts to expand into new geographies, develop new

carrier partnerships and worsening product mix; (iv) GoHealth had entered into materially less

favorable revenue sharing arrangements with its external sales agents; and (v) these adverse

financial and operational trends were internally projected by GoHealth to continue and worsen

following the IPO.

       10.     Shortly after the IPO, the price of GoHealth Class A common stock suffered

significant price declines, and by September 15, 2020, GoHealth Class A common stock closed

at just $12.53 per share – over 40% below the $21 per share price investors paid for the stock in

the IPO less than two months previously.




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                                           PARTIES

       11.     Plaintiff purchased GoHealth Class A common stock pursuant and/or traceable to

the Registration Statement and has been damaged thereby. Plaintiff’s certification is attached

hereto as Exhibit A.

       12.     Defendant GoHealth, Inc. operates a health insurance marketplace. The Company

is headquartered in Chicago, Illinois, and its Class A common stock trades on the NASDAQ

under the ticker symbol “GOCO.”

       13.     Defendant Clinton P. Jones (“Jones”) is a co-founder of GoHealth, its Chief

Executive Officer (“CEO”), and Co-Chair of GoHealth’s Board of Directors (the “Board”).

       14.     Defendant Brandon M. Cruz (“Cruz”) is a co-founder of GoHealth, its Chief

Strategy Officer, a Special Advisor to the Executive Team, and Co-Chair of the Board.

       15.     Defendant Travis J. Matthiesen (“Matthiesen”) is GoHealth’s Chief Financial

Officer.

       16.     The defendants identified in ¶¶13-15 above are referred to herein as the

“Individual Defendants.” All of the Individual Defendants signed the Registration Statement for

the IPO. Each of the Individual Defendants also reviewed and helped prepare the Registration

Statement and, as directors and/or executive officers of the Company, participated in the

solicitation and sale of the Company’s Class A common stock to investors in the IPO for their

own financial benefit and the financial benefit of GoHealth.

       17.     Defendant NVX Holdings, Inc. (“NVX Holdings”) is a Chicago-based investment

vehicle created for the benefit of defendants Cruz and Jones to house their ownership of

GoHealth Class A and Class B stock. Defendant Cruz served as President of NVX Holdings and

defendant Jones served as its CEO.




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       18.     Defendant Centerbridge Partners, L.P. (“Centerbridge Partners”) is a New York-

based private equity firm.

       19.     Defendants CCP III AIV VII Holdings, L.P., CB Blizzard Co-Invest Holdings,

L.P., and Blizzard Aggregator, LLC are investment vehicles created for the benefit of

Centerbridge Partners to house its ownership of GoHealth Class A and Class B stock.

       20.     Defendant Centerbridge Associates III, L.P. is the general partner of defendants

CCP III AIV VII Holdings, L.P. and CB Blizzard Co-Invest Holdings, L.P.

       21.     Defendant CCP III Cayman GP Ltd. is the general partner of defendant

Centerbridge Associates III, L.P. and the sole manager of defendant Blizzard Aggregator, LLC.

       22.     The defendants identified in ¶¶18-21 above are referred to herein as

“Centerbridge.” Defendant Centerbridge was a controlling shareholder and primary beneficiary

of the IPO, as well as its private equity sponsor, as detailed herein.

       23.     Defendants Goldman Sachs & Co. LLC, BofA Securities, Inc. and Morgan

Stanley & Co. LLC (the “Underwriter Defendants”) served as underwriters and lead underwriter

representatives for the IPO. Together with the underwriting syndicate, they sold 43.5 million

GoHealth shares in the IPO at $21 per share and shared $50.2 million in underwriting discounts

and commissions. The Underwriter Defendants’ failure to conduct adequate due diligence in

connection with the IPO and the preparation of the Registration Statement was a substantial

factor leading to the harm complained of herein.

                                 JURISDICTION AND VENUE

       24.     The claims alleged herein arise under §§11 and 15 of the 1933 Act [15 U.S.C.

§§77k and 77o]. This Court has jurisdiction over the subject matter of this action pursuant to §22

of the 1933 Act [15 U.S.C. § 77v].




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         25.      This Court has personal jurisdiction over each of the Defendants and venue is

proper in this Court because Defendants conducted the IPO in this District, drafted the offering

materials in this District, disseminated the statements alleged to be false and misleading herein

into this District, solicited purchasers of GoHealth common stock in this District and reside or

are headquartered or have submitted to jurisdiction in this District, and those contacts have a

substantial connection to the claims alleged herein.

                                   FACTUAL BACKGROUND

   I.          GoHealth’s Business

         26.      Based in Chicago, Illinois, GoHealth operates a health insurance marketplace that

matches consumers with health insurance carrier plans. The Company was founded in 2001 by

defendants Cruz and Jones.

         27.      GoHealth maintains a proprietary technology platform designed to gather and

leverage insurance behavioral data in order to better match consumers with health plans that

meet their needs. The Company operates a vertically-integrated customer acquisition platform

that includes omni-channel marketing efforts and trained and licensed health insurance agents. It

does not receive any fees directly from consumers. Rather, the Company is paid a commission

by insurance carriers for successfully enrolling consumers in the carriers’ plans and additional

recurring commissions so long as those consumers retain their health insurance plans.

         28.      GoHealth divides its operations into four operating segments: (i) Medicare –

Internal; (ii) Medicare – External; (iii) Individual and Family Plans (“IFP”) and Other – Internal;

and (iv) IFP and Other – External. “Internal” refers to commission revenues generated by

GoHealth-employed agents, whereas “External” refers to commission revenues generated by an

independent, national network of agents that use the GoHealth platform. The majority of the




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Company’s revenues and profits are generated in its Medicare Internal and External segments.

For the first quarter of 2020, the Medicare Internal segment accounted for 68% of GoHealth’s

total revenues, and the Medicare External segment accounted for an additional 21% of revenues.

       29.     Medicare Advantage products generate the majority of net revenues in

GoHealth’s Medicare segments, accounting for 75% of net revenues for its Medicare Internal

segment and 95% of net revenues for its Medicare External segment during the first quarter of

2020. Somewhat uniquely among its peers, the Company generates the substantial majority of its

revenues from just two carriers: Humana and Anthem. Combined, these two carriers accounted

for 74% of GoHealth’s total revenues for the first quarter of 2020, up from 43% of the

Company’s total revenues in the first quarter of 2019. The concentration was even higher in

GoHealth’s critical Medicare segments, in which these two carriers accounted for roughly 85%

of segment revenues for the first quarter of 2020.

       30.     In September 2019, GoHealth was acquired by defendant Centerbridge for $808

million in cash, $306 million in equity, and up to $275 million in contingent consideration to be

paid to the selling shareholders in the event certain earnings thresholds were subsequently

achieved by the Company in late 2019 and 2020.

       31.     Following the Acquisition, GoHealth stated that it had achieved extraordinary

growth, as Centerbridge prepared to take the Company public. From September 13, 2019 through

December 31, 2019, GoHealth purportedly generated $308 million in net revenues, compared to

just $231 million during the period from January 1, 2019 through September 12, 2019. As a

result, GoHealth claimed to have generated 33% more revenues in the three-and-a-half month

period following the Acquisition than in the eight-and-a-half month period preceding the

Acquisition. GoHealth also claimed to have generated 36% more revenues in the short period at




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the end of 2019 following the Acquisition than in the Company’s entire 2018 fiscal year, when it

generated $226 million in net revenues.

         32.      GoHealth represented that its business model was highly profitable, offering the

highest LTV/CAC ratio of any of its peers. GoHealth claimed that its LTV/CAC ratio for its

Medicare Internal segment was 3.9x and 2.7x for 2019 and the first quarter of 2020, respectively,

far higher than the 1.7x LTV/CAC ratio the Company stated it had achieved during the first

quarter of 2019 and, by some estimates, roughly double GoHealth’s competitors.

         33.      Although GoHealth generated net losses in 2019, it represented that this was

because the Company was in growth mode and seeking to expand its presence as a dominant

force in the Medicare insurance marketplace. GoHealth reassured investors that its core

profitability was intact and substantially increasing at the time of the IPO. For example,

GoHealth claimed that its adjusted EBITDA had grown by 388% year over year to $170 million

during its pro forma 2019 and by 394% year over year to $35 million during the first quarter of

2020.

         34.      On June 19, 2020, GoHealth filed the Registration Statement with the SEC,

which, after two amendments, was declared effective on July 14, 2020. On July 16, 2020,

GoHealth filed the prospectus for the IPO with the SEC, which incorporated and formed part of

the Registration Statement. The Registration Statement was used to sell 43.5 million shares of

GoHealth Class A common stock to the investing public at a price of $21 per share, generating

$913.5 million in gross offering proceeds.

   II.         The Materially False and Misleading Registration Statement

         35.      The Registration Statement was negligently prepared and, as a result, contained

untrue statements of material fact, omitted material facts necessary to make the statements




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contained therein not misleading, and failed to make necessary disclosures required under the

rules and regulations governing its preparation.

       36.     For example, the Registration Statement emphasized “GoHealth’s track record of

significant growth in net revenues in the Medicare space in the past five years” and stated that

GoHealth was expected to “continue to be one of the top choices for unbiased insurance advice

to help navigate one of the most important purchasing decisions individuals make.” The

Registration Statement similarly stated that GoHealth had a “19-year history of consistent

revenue growth and entering new market segments of insurance products,” which was due to the

Company’s “strong customer engagement dynamics.” The Registration Statement specified this

purportedly strong growth rate as follows:

       Specifically, net revenues grew by 104.1% to $141.0 million for the Pro Forma
       First Quarter 2020 compared to $69.1 million for the three months ended March
       31, 2019 and by 138.5% to $539.5 million for the Pro Forma Fiscal Year 2019
       compared to $226.2 million for the year ended December 31, 2018. Adjusted
       EBITDA grew by 394.0% to $35.2 million for the Pro Forma First Quarter 2020
       compared to $7.1 million for the three months ended March 31, 2019 and by
       387.6% to $170.0 million for the Pro Forma Fiscal Year 2019 from $34.9 million
       for the year ended December 31, 2018.

       37.     The Registration Statement particularly highlighted GoHealth’s exceptional

growth in the Company’s Medicare segments, stating in pertinent part as follows:

       Total revenues generated in the Medicare segments grew to $124.2 million for the
       three months ended March 31, 2020 from $41.2 million for the three months
       ended March 31, 2019, representing a 201.5% increase, and to $432.7 million for
       the Pro Forma Fiscal Year 2019 from $112.2 million for the year ended December
       31, 2018, representing a 285.7% increase. In the Medicare segments, our total
       Submitted Policies grew to over 132,000 Medicare policies for the three months
       ended March 31, 2020, as compared to over 43,200 Medicare policies the three
       months ended March 31, 2019 and over 427,000 Medicare policies for the year
       ended December 31, 2019, as compared to over 118,000 Medicare policies for the
       year ended December 31, 2018.

       38.     The Registration Statement represented that the reasons for the increased revenues

from GoHealth’s Medicare segments included improved marketing strategies, increased agent


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efficiencies, technological upgrades and hiring and onboarding of additional internal and external

agents. It stated in pertinent part:

        Commission Revenues

        Commission revenues were $112.5 million for the three months ended March 31,
        2020 compared to $51.2 million for the three months ended March 31, 2019, an
        increase of 119.7%, which was primarily attributable to increases in commission
        revenues from (i) the Medicare – Internal segment of $74.4 million driven by a
        291.6% increase in Medicare commissionable Approved Submissions due to the
        implementation of new marketing strategies to generate a greater number of
        prospects, an improvement in the efficiency of our agents driven by
        improvements in our technology, and the hiring of additional agents and (ii) the
        Medicare – External segment of $8.6 million driven by a 68.9% increase in
        Medicare commissionable Approved Submissions due to our ability to recruit and
        onboard additional external agencies to enroll consumers in Medicare plans using
        our technology and platform.

        39.     The Registration Statement further stated that GoHealth was expected to continue

its rapid-fire growth as it increased market share in an expanding addressable market. The

Registration Statement stated that GoHealth had “capitalize[d]” on and was expected to continue

to capitalize on the following favorable trends: (i) “strong demographic trends, with Medicare

enrollment expected to grow from approximately 61 million individuals in 2019 to

approximately 77 million individuals by 2028”; (ii) “the increasing proportion of the Medicare-

eligible population that is choosing commercial insurance solutions, with . . . an increase of

approximately 1.5 million people from 2018 to 2019; and (iii) “an antiquated traditional field

agent driven sales process . . . ripe for disruption by digitally-enabled and technology-driven

marketplaces like our platform.” The Registration Statement further claimed that “these trends

will drive a larger market in the coming years that, when taken together with our other product

and plan offerings, will result in an even larger addressable market.” As a result, GoHealth was

purportedly “poised to benefit from market share gains in what has traditionally been a highly

fragmented market.”



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       40.     Moreover, the Registration Statement highlighted the Company’s data-rich

proprietary technologies, which purportedly allowed it to increase consumer conversions and

improved consumer engagement. According to the Registration Statement, the “differentiated

value of [GoHealth’s] data science-driven, fully-integrated platform has facilitated [its] rapid

growth.” The Registration Statement further stated in pertinent part:

       As a result of our Marketplace technology and increasingly robust data and
       insights, our qualified prospect to Submitted Policy conversion rate increased
       from 20.7% for the three months ended March 31, 2019 to 24.3% for the three
       months ended March 31, 2020, and from 20.6% in 2018 to 23.2% in 2019 for the
       multi-carrier sales outlet of the Medicare – Internal segment. An increase in the
       conversion rate of qualified prospects to Submitted Policies generally results in
       greater commissionable Approved Submissions.

       41.     The Registration Statement also provided preliminary financial results for the

Company’s second quarter of 2020, which had closed prior to the IPO. The Registration

Statement stated that GoHealth had continued its exceptional growth during this period due in

part to further improved market efficiencies and consumer engagement, stating in pertinent part:

       Net revenues are expected to be between $118.0 million and $130.0 million, an
       increase of 66.4% at the midpoint of this range, as compared to $74.5 million for
       the three months ended June 30, 2019. The estimated increase in net revenues
       compared to the corresponding period in 2019 is primarily due to an increase in
       net revenues in the Medicare – Internal segment driven by higher Medicare-
       Internal commissionable Approved Submissions for Medicare Advantage
       products due to the implementation of new marketing strategies to generate a
       greater number of prospects, an improvement in the efficiency of our agents
       driven by improvements in our technology, and the hiring of additional agents.

       Total segment profit is expected to be between $30.0 million and $36.0 million,
       an increase of 65.0% at the midpoint of this range, as compared to total segment
       profit of $20.0 million for the three months ended June 30, 2019. The estimated
       increase in total segment profit compared to the corresponding period in 2019 is
       primarily due to the increase in Medicare-Internal commissionable Approved
       Submissions for Medicare Advantage products for the same reasons mentioned
       above.




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        42.     The Registration Statement characterized the Company’s relationships with

Humana and Anthem as a foundation for GoHealth’s recent success and profitable growth. It

stated in pertinent part:

        We maintain longstanding, deeply integrated relationships with leading carriers in
        the United States, who have some of the industry’s most widely recognizable
        brands. For the year ended December 31, 2019 and the three month period ended
        March 31, 2020, the primary carriers that we served in the Medicare segments
        were carriers owned by Humana and Anthem, the primary carriers that we served
        in the IFP and Other segments were carriers owned by UnitedHealth Group.
        These high-quality relationships have resulted in strong carrier retention rates;
        since our inception, we have never had a carrier terminate for performance. We
        typically enter into contractual agency relationships with carriers that are non-
        exclusive and terminable on short notice by either party for any reason. Carriers
        often have the ability to terminate or amend our agreements unilaterally on short
        notice, including provisions in our agreements relating to our commission rates.

        43.       The statements in ¶¶ 36-42 were materially false and misleading when made

because they failed to disclose the following adverse facts that existed prior to and at the time of

the IPO:

        (i)     the Medicare insurance industry had undergone a period of elevated churn in the

                first half of 2020 as a result of increased competition, the growth of direct-to-

                consumer insurance brokers and the occurrence of a special enrollment period;

        (ii)    GoHealth suffered from a higher risk of customer churn as a result of its unique

                business model and limited carrier base;

        (iii)   GoHealth suffered from degradations in customer persistency and retention as a

                result of elevated industry churn, vulnerabilities that arose from the Company’s

                concentrated carrier business model, and GoHealth’s efforts to expand into new

                geographies, develop new carrier partnerships and worsening product mix;

        (iv)    GoHealth had entered into agreements with its external sales agents that provided

                for a materially worse revenue sharing percentage as compared to historical



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                arrangements (i.e., a 90% level in 2020 versus a relatively low level in 2019),

                which had substantially decreased the profits that could be generated in the

                Company’s Medicare External segment; and

        (v)     these adverse financial and operational trends were internally projected by

                GoHealth to continue and worsen following the IPO.

        44.     Defendants are strictly liable for the materially untrue and misleading statements

incorporated into the Registration Statement.

        III.    Statutory Framework Applicable to the Registration Statement

        45.     The purpose of the Securities Act is “to provide investors with full disclosure of

material information concerning public offerings of securities in commerce, to protect investors

against fraud, and, through the imposition of specified civil liabilities, to promote ethical

standards of honesty and fair dealing.” Ernst & Ernst v. Hochfelder, 425 U.S. 185, 195 (1976);

see also Randall v. Loftsgaarden, 478 U.S. 647, 659 (1986); Pinter v. Dahl, 486 U.S. 622, 638

(1988) (“The primary purpose of the Securities Act is to protect investors by requiring

publication of material information thought necessary to allow them to make informed

investment decisions concerning public offerings of securities in interstate commerce.”).

        46.     To effectuate this purpose, a company’s registration statement must provide a full

disclosure of material information. See Herman & MacLean v. Huddleston, 459 U.S. 375, 381

(1983). Failure to do so gives rise to private rights of action under the Securities Act. Id. at 381-

82 (the Securities Act’s private rights of action were “designed to assure compliance with [its]

disclosure provisions . . . by imposing a stringent standard of liability on the parties who play a

direct role in a registered offering.”).




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       A.      Section 11 of the Securities Act of 1933

       47.     Section 11 prohibits materially misleading statements or omissions in registration

statements filed with the SEC. See 15 U.S.C. § 77k. Accordingly, Section 11 gives rise to

liability if “any part of [a Company’s] registration statement, when such part became effective,

contained an untrue statement of a material fact or omitted to state a material fact required to be

stated therein or necessary to make the statements therein not misleading.” 15 U.S.C. § 77k(a).

Section 11 provides for a cause of action by the purchaser of a registered security against certain

statutorily enumerated parties, including: (1) “every person who signed the registration

statement;” (2) “every person who was a director of (or person performing similar functions) or

partner in the issuer at the time of the filing of . . . the registration statement;” (3) “every person

who, with his consent, is named in the registration statement as being or about to become a

director;” (4) “any person . . . who has with his consent been named as having prepared or

certified any part of the registration statement;” and (5) “every underwriter with respect to such

security.” 15 U.S.C. § 77k(a)(1-5).

       B.      Regulation S-K

               1.      Item 303 Requirements

       48.     Item 303 imposes an affirmative duty on issuers to disclose “events” or

“uncertainties” that will have a material or unfavorable impact on the registrant’s future revenue.

17 C.F.R. § 229.303(a)(3)(i) & (ii); Mgmt’s Discussion and Analysis of Fin. Condition and

Results of Operation, Exchange Act Release No. 6835 (“S.E.C. Release No. 6835”), 1989 WL

1092885, at *4 (May 18, 1989).

       49.     Specifically, Item 303 requires issuers to disclose in the registration statement any

“trend, demand, commitment, event or uncertainty” that is “both presently known to

management and reasonably likely to have material effects on the registrant’s financial condition


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or results of operations.” See S.E.C. Release No. 6835, 1989 WL 1092885, at *4; 17 C.F.R. §

229.303(a)(3)(ii). Pursuant to Item 303(a), for a fiscal year, a registrant has an affirmative duty

to: (i) Describe any unusual or infrequent events or transactions or any significant economic

changes that materially affected the amount of reported income from continuing operations and,

in each case, indicate the extent to which the income was so affected; and (ii) Describe any

known trends or uncertainties that have had or that the registrant reasonably expects will have a

material favorable or unfavorable impact on net sales or revenues or income from continuing

operations. If the registrant knows of events that will cause a material change in the relationship

between costs and revenues (such as known future increases in costs of labor or materials or

price increases or inventory adjustments), the change in the relationship shall be disclosed. 17

C.F.R. § 229.303(a)(3)(i)-(ii); see also S.E.C. Release No. 6835, 1989 WL 1092885, at *8 (May

18, 1989) (“Other non-recurring items should be discussed as unusual or infrequent events or

transactions that materially affected the amount of reported income from continuing

operations.”) (citation and quotation omitted).

       50.     Thus, even a one-time event, if “reasonably expect[ed]” to have a material impact

of results, must be disclosed. Examples of such required disclosures include: “[a] reduction in

the registrant’s product prices; erosion in the registrant’s market share; changes in insurance

coverage; or the likely non-renewal of a material contract.” S.E.C. Release No. 6835, 1989 WL

1092885, at *4. Accordingly, as the SEC has repeatedly emphasized, the “specific provisions in

Item 303 [as set forth above] require disclosure of forward-looking information.” Id. at *3.

Indeed, the SEC has stated that disclosure requirements under Item 303 are “intended to give the

investor an opportunity to look at the company through the eyes of management by providing

both a short and long-term analysis of the business of the company” and “a historical and




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prospective analysis of the registrant’s financial condition . . . with particular emphasis on the

registrant’s prospects for the future.”      Id. at *3, *17.     Thus, “material forward-looking

information regarding known material trends and uncertainties is required to be disclosed as part

of the required discussion of those matters and the analysis of their effects.” See Comm’n

Guidance Regarding Mgmt’s Discussion and Analysis of Fin. Condition and Results of

Operations, S.E.C. Release No. 8350, 2003 WL 22996757, at *11 (December 19, 2003).

               2.      Item 503 Requirements

       51.     Item 503 is intended “to provide investors with a clear and concise summary of

the material risks to an investment in the issuer’s securities.” Sec. Offering Reform, S.E.C.

Release No. 8501, 2004 WL 2610458, at *86 (Nov. 3, 2004). Accordingly, Item 503 requires

that offering documents “provide under the caption ‘Risk Factors’ a discussion of the most

significant factors that make the offering speculative or risky.” 17 CFR § 229.503(c). The

discussion of risk factors: must be specific to the particular company and its operations and

should explain how the risk affects the company and/or the securities being offered. Generic or

boilerplate discussions do not tell the investors how the risks may affect their investment.

Statement of the Comm’n Regarding Disclosure of Year 2000 Issues and Consequences by Pub.

Cos., Inv. Advisers, Inv. Cos., & Mun. Sec. Issuers, 1998 WL 425894, at *14 (July 29, 1998).

       52.     Item 503 requires that a registration statement must disclose all known material

risks that are “specific to the particular company and its operations.” Id. Item 503(c) expressly

warns issuers: “Do not present risks that could apply to any issuer or any offering.” 17 CFR §

229.503(c).

       53.     The undisclosed adverse facts and circumstances detailed above presented known

trends, uncertainties and risks that required disclosure in the Registration Statement. Specifically,

Item 303 of SEC Regulation S-K, 17 C.F.R. §229.303, required the Company to disclose “any


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known trends or uncertainties that have had or that [GoHealth] reasonably expects will have a

material favorable or unfavorable impact on net sales or revenues or income from continuing

operations.” Moreover, Item 105 of Regulation S-K, 17 C.F.R. §229.105, required disclosure in

the Registration Statement of “the most significant factors that ma[d]e an investment in [the IPO]

speculative or risky” and an explanation of “how the risk affect[ed] [GoHealth] or the securities

being offered.” The Registration Statement failed to disclose material facts necessary to apprise

Class A common stock purchasers of the true risks inherent in investing in the Company. Indeed,

the purported risk disclosures provided in the Registration Statement, to the extent they were

relevant at all, were themselves materially misleading because they failed to disclose the true

facts impacting GoHealth’s business, operations and financial results and/or characterized

materially adverse facts that had already materialized as contingent possibilities that could

impact GoHealth in the future.

       54.        On July 23, 2020, executives for eHealth Inc. (“eHealth”) – a major GoHealth

competitor – stated during an earnings call that the Medicare brokerage industry had been

suffering from elevated churn during the first half of 2020. Although certain of the issues were

specific to eHealth, others were not and impacted the entire industry, including GoHealth. On the

call, eHealth’s CEO stated that, “in the first half of this year, we saw increased levels of

Medicare Advantage plan churn compared to our historic observations.” He continued in

pertinent part:

       On the macro side, consumers are faced with broader plan choice and multiple
       enrollment opportunities throughout the year, which is benefiting the broader MA
       [Medicare Advantage] market and increasing the market share of MA plans. At
       the same time, these dynamics have also led to more shopping and more
       switching by MA members.




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         55.   On August 19, 2020, GoHealth announced its financial results for the second

quarter ended June 30, 2020 – the quarter immediately prior to the IPO. That same day,

defendants Jones and Matthiesen hosted a conference call with analysts and investors to discuss

the results. These defendants were repeatedly asked whether GoHealth was suffering from

elevated churn at the time of the IPO, yet they failed to provide a direct answer. For example,

when asked directly whether churn “was up or down on a like-for-like basis” by an analyst,

defendant Matthiesen demurred and instead pointed investors to the Company’s LTVs and cash

flows.

         56.   During the earnings call, defendants Jones and Matthiesen also repeatedly stated

that churn was within the Company’s “expectations.” Furthermore, they pointed to a variety of

factors that were negatively impacting the Company’s churn and were expected to continue to

negatively impact the Company’s churn going forward, including, inter alia: (i) the Company’s

expansion into new geographies, with lower customer persistency; (ii) the Company’s expansion

of business with additional carriers, which presented a learning curve for the Company’s agents

and higher disenrollment rates; and (iii) the Company’s changing product mix, such as its

expansion of its Medicare Special Needs Plans business, which had a higher churn rate than

Medicare Advantage plans. These Company-specific factors were in addition to the undisclosed

industry-wide factors that were negatively impacting GoHealth’s business leading up to the IPO.

Thus, management’s acknowledgement that churn matched internal “expectations” confirmed

that churn was increasing as internally expected prior to and at the time of the IPO, despite the

fact that this elevated churn and the ongoing negative impacts to GoHealth’s business, operations

and prospects had not been accurately and fulsomely disclosed to investors in the Registration

Statement.




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       57.     GoHealth’s stock price has declined significantly subsequent to the IPO. By

September 15, 2020, GoHealth Class common A stock closed at just $12.53 per share – over

40% below the $21 per share price investors paid for the stock in the IPO less than two months

previously.

                                    CLASS ALLEGATIONS

         58.     Class Definition: Plaintiff brings this action pursuant to Fed. R. Civ. P. 23 on

behalf of a class of similarly situated individuals, defined as follows (the “Class”):

       All individuals or entities that purchased Class A Common stock of GoHealth
       pursuant and/or traceable to the Registration Statement.

The following are excluded from the Class: (1) any Judge presiding over this action and

members of his or her family; (2) Defendant, Defendants’ immediate families; Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parent

has a controlling interest (including current and former employees, officers, or directors);

(3) persons who properly execute and file a timely request for exclusion from the Class;

(4) persons whose claims in this matter have been finally adjudicated on the merits or otherwise

released; (5) Plaintiffs’ counsel and Defendant’s counsel; and (6) the legal representatives,

successors, and assigns of any such excluded persons.

         59.     Numerosity: Members of the Class are so numerous that their individual

joinder is impracticable. On information and belief, members of the Class number in the

thousands as millions of the Class A shares were sold in the IPO. The precise number of Class

members and their identities are unknown to Plaintiffs at this time but may be determined

through discovery provided by the Company and/or its transfer agent. Further, the size and

relatively modest value of the claims of the individual members of the Class renders joinder




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impractical. Accordingly, utilization of the class action mechanism is the most economically

feasible means of determining and adjudicating the merits of this litigation.

         60.     Commonality and Predominance: Common and well-defined questions of

fact and law exist as to all members of the Class and predominate over questions affecting only

individual Class members. These common legal and factual questions, which do not vary from

Class member to Class member and routinely determined on a class-basis for such securities

claims, and which may be determined without reference to the individual circumstances of any

class member include, include but are not limited to, the following:

       (a)     whether Defendants violated the 1933 Act, as alleged herein;

       (b)     whether the Registration Statement misrepresented and/or omitted material

               information in violation of the 1933 Act;

       (c)     whether and to what extent Class members have sustained damages as well

               as the proper measure of damages.

       61.     Adequate Representation: Plaintiff has retained competent counsel experienced

in prosecuting complex securities class actions. Plaintiff and Plaintiff’s counsel are committed

to vigorously prosecuting this class action. Moreover, Plaintiff and Plaintiff’s counsel are able

to fairly and adequately represent and protect the interests of such a Class because their interests

do not conflict with the interests of the Class members Plaintiff seeks to represent. Plaintiff has

raised viable statutory claims of the type reasonably expected to be raised by members of the

Class, and will vigorously pursue those claims. If necessary, Plaintiff may seek leave of this

Court to amend this Class Action Complaint to include additional Class representatives to

represent the Class or additional claims as may be appropriate.




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       62.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because individual litigation of the claims of all Class

members is impracticable. Each individual Class member may lack the resources to undergo the

burden and expense of individual prosecution of the complex and extensive litigation necessary

to establish Defendants’ liability. Moreover, even if every member of the Class could afford to

pursue individual litigation, the Court system could not. It would be unduly burdensome to the

courts in which individual litigation of numerous cases would proceed. Individualized litigation

would also present the potential for inconsistent or contradictory judgments, and it would

magnify the delay and expense to all parties and to the court system resulting from multiple

trials of the same factual issues. By contrast, the maintenance of this action as a class action,

with respect to some or all of the issues presented herein, presents few management difficulties,

conserves the resources of the parties and of the court system, and protects the rights of each

member of the Class. Class treatment of the issues will ensure that all claims and claimants are

before this Court for consistent adjudication.         Plaintiff anticipates no difficulty in the

management of this action as a class action.

                               FIRST CAUSE OF ACTION
                            For Violation of §11 of the 1933 Act
                (On Behalf of Plaintiff and the Class Against All Defendants)

       63.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       64.     This Count is brought under §11 of the 1933 Act [15 U.S.C. §77k], on behalf of

the Class, against all defendants. This Count does not allege, and does not intend to allege, fraud

or fraudulent intent, which is not a required element of §11, and any implication of fraud or

fraudulent intent is hereby expressly disclaimed.




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       65.     The Registration Statement for the IPO contained inaccurate and misleading

statements of material fact, omitted facts necessary to render statements therein not misleading,

and omitted to state material facts required to be stated therein.

       66.     GoHealth is the registrant for the IPO. Defendants were responsible for the

contents and dissemination of the Registration Statement. Each of the Individual Defendants

signed or authorized the signing of the Registration Statement on his behalf. Defendant

Centerbridge was the sponsor for the IPO and signed the Registration Statement through its

director appointees to the Board. The Underwriter Defendants marketed and underwrote the IPO

and sold the GoHealth stock issued in the IPO to plaintiff and the Class.

       67.     As the issuer of the shares, GoHealth is strictly liable to plaintiff and the Class for

the Registration Statement’s material misstatements and omissions. Signatories of the

Registration Statement, and possibly other defendants, may also be strictly liable to plaintiff and

the Class for such material misstatements and omissions. None of the defendants made a

reasonable investigation or possessed reasonable grounds to believe that the statements in the

Registration Statement were complete, accurate or non-misleading.

       68.     By reason of the conduct alleged herein, defendants violated §11 of the 1933 Act.

Plaintiff and Class members purchased GoHealth Class A common stock pursuant and/or

traceable to the Registration Statement and have sustained damages as a result. The value of the

stock has declined substantially subsequent and due to defendants’ violations. At the time of

their purchases, plaintiff and other members of the Class were without knowledge of the facts

concerning the wrongful conduct alleged herein.

       69.     Less than one year has elapsed from the time that plaintiff discovered, or

reasonably could have discovered, the facts upon which these claims are based to the time that




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plaintiff filed this action. Less than three years has elapsed between the time that the securities

upon which this Count is brought were offered to the public and the time plaintiff filed this action.

                              SECOND CAUSE OF ACTION
                           For Violation of §15 of the 1933 Act
 (On Behalf of Plaintiff and the Class Against Defendants GoHealth, Centerbridge, NVX
                         Holdings, and the Individual Defendants)

       70.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       71.     This Count is brought under §15 of the 1933 Act [15 U.S.C. §77o], against

defendants GoHealth, Centerbridge, NVX Holdings and the Individual Defendants. This Count

does not allege, and does not intend to allege, fraud or fraudulent intent, which is not a required

element of §15, and any implication of fraud or fraudulent intent is hereby expressly disclaimed.

       72.       As detailed herein, each of defendants committed primary violations of the

1933 Act by engaging in conduct in contravention of §§11 of the 1933 Act.

       73.       The Individual Defendants were each control persons of GoHealth by virtue of

their positions as directors, senior officers and/or significant shareholders of the Company. They

each had direct and/or indirect business and/or personal relationships with other directors,

officers and/or major shareholders of the Company. The Company also controlled the Individual

Defendants, given the influence and control the Company possessed and exerted over the

Individual Defendants and all of its employees. Centerbridge, the owner of the Company and the

private equity sponsor of the IPO, controlled the Company and its Board appointees.

       74.       Defendants Cruz, Jones and Centerbridge took additional steps to cement their

control over the Company and its affairs. For example, these defendants created a dual class

voting structure and caused the Company to enter into a variety of shareholder agreements to

ensure that public investors would effectively have no say over the management of GoHealth

and that the Company would not be subject to independent oversight. Following the IPO,



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defendant Centerbridge and defendants Cruz and Jones (through their ownership and control

over defendant NVX Holdings) in combination possessed over 68% of the voting power of the

Company as a result of their ownership of Class A and Class B shares. Because Class B shares

entitled their holders to an additional one vote per share, these defendants possessed majority

voting control over the Company out of proportion with their economic stake. In addition,

pursuant to a stockholders agreement, defendant Centerbridge and defendants Cruz and Jones

were collectively entitled to nominate up to eight members of the Board and had signed an

agreement amongst each other requiring them to support each other’s nominations, allowing

these defendants to dominate the Board and its actions. These defendants also entered into

various agreements in connection with the Acquisition and the IPO that allowed them to funnel

millions of dollars from the IPO proceeds and GoHealth’s revenues into their own pockets and

the pockets of their affiliates.

        75.       By reason of the conduct alleged herein, these defendants violated §15 of the

1933 Act, and plaintiff and the Class have suffered harm as a result.


                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of themselves and the proposed Class, respectfully

requests that this Court enter an Order:

          A.    Certifying this case as a class action on behalf of the Class defined above,

appointing Plaintiff as representative of the Class, and appointing counsel as Class Counsel;

          B.    Awarding Plaintiff and the Class compensatory damages against all Defendants

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

amount to proven at trial;




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         C.      Awarding Plaintiff and the Class reasonable litigation expenses and attorneys’

fees;

         D.      Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable; and

         E.      Awarding such other and further relief as equity and justice may require.

                                          JURY TRIAL

         Plaintiffs demand a trial by jury for all issues so triable.

Dated: September 28, 2020                      Respectfully submitted,

                                               /s/ Carl V. Malmstrom           .
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